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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------------- X             10/15/2020
                                                                       :
MICHAEL PHILIP KAUFMAN,                                                :
                                                                       :
                                    Plaintiff,                         :
                                                                       :   20-CV-6879 (JPC)
                  -v-                                                  :
                                                                       :     NOTICE OF
SALESFORCE.COM, INC.,                                                  :   REASSIGNMENT
                                                                       :
                                    Defendant.                         :
                                                                       :
---------------------------------------------------------------------- X

JOHN P. CRONAN, United States District Judge:

        This case has been reassigned to the undersigned. All counsel must familiarize themselves

with the Court’s Individual Rules, which are available at https://www.nysd.uscourts.gov/hon-

john-p-cronan. Unless and until the Court orders otherwise, all prior orders, dates, and deadlines

shall remain in effect notwithstanding the case’s reassignment. Any currently scheduled conference

or oral argument before the Court is adjourned. Counsel for all parties are hereby directed to appear

before the undersigned for an Initial Pretrial Conference (“IPTC”) in accordance with Rule 16 of

the Federal Rules of Civil Procedure on October 29, 2020, at 10:00 a.m. In light of the ongoing

COVID-19 pandemic, the Court will conduct the IPTC by teleconference. At the scheduled time,

counsel for all parties should call (866) 434-5269, access code 9176261. Absent leave of Court

obtained by letter-motion filed before the conference, all pretrial conferences must be attended by

the attorney who will serve as principal trial counsel.

        It is further ORDERED that the parties shall submit a joint letter of no more than five pages

by October 26, 2020, addressing the following in separate paragraphs: (1) a brief description of

the case, including the factual and legal bases for the claim(s) and defense(s); (2) any contemplated

motions; (3) the basis for subject matter jurisdiction; and (4) the prospect for settlement. By that
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date, the parties shall also submit to the Court a proposed case management plan and scheduling

order, a template of which is available at https://www.nysd.uscourts.gov/hon-john-p-cronan.

       In accordance with the Court’s Individual Rules and Practices for Civil Cases, requests for

extensions or adjournment may be made only by letter-motion filed on ECF and must be received

at least 48 hours (i.e., two business days) before the deadline or scheduled appearance, absent

compelling circumstances. The written submission must state (1) the original date(s) set for the

appearance or deadline(s) and the new date(s) requested; (2) the reason(s) for the request; (3) the

number of previous requests for adjournment or extension; (4) whether these previous requests

were granted or denied; and (5) whether opposing counsel consents, and, if not, the reasons given

by opposing counsel for refusing to consent.

       SO ORDERED.

Dated: October 15, 2020                             __________________________________
       New York, New York                                    JOHN P. CRONAN
                                                           United States District Judge




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